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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF DELAWARE

ARM LTD., )
Plaintiff,
Vv. 5 C.A. No. 22-1146 (MN)
QUALCOMM INC., QUALCOMM
TECHNOLOGIES, INC. and NUVIA, INC., )
Defendants.
VERDICT FORM

In answering the following questions and filling out this Verdict Form, you are to
follow all of the instructions I have given you in the Court’s charge. Your answer to each

question must be unanimous.
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We, the jury in this case, find the following answers to the following questions:

Arm’s Claims for Breach of Contract

Question 1; Did Arm prove by a preponderance of the evidence that Nuvia breached Section
15.1(a) of the Nuvia ALA?

YES NO
For Arm For Nuvia

YES NO

Question 2: Did Arm prove by a preponderance of the evidence that Qualcomm breached
Section 15.1(a) of the Nuvia ALA?

YES NO
For Arm For Oualeomm

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Qualcomm’s Claim

Question 3: Did Qualcomm prove by a preponderance of the evidence that the Qualcomm CPUs
that include designs acquired in the Nuvia acquisition are licensed under the

Qualcomm ALA?
YES NO
For Qualcomm For Arm

YES i NO

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CONCLUSION

You have reached the end of the verdict form. Review the completed form to ensure that it
accurately reflects your unanimous determinations. All jurors should then sign and date the
Verdict Form in the space below and notify the Court Security Officer that you have reached a

verdict.

Date: lahofav

